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     P.R., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: G.A.R.L., and Concerning M.T.L. No. 24SC618Supreme Court of Colorado, En BancOctober 21, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA224
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    